Case 1:19-cr-00098-CMA Document 5 Filed 02/01/19 USDC Colorado Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-mj-00025-NRN

UNITED STATES OF AMERICA,

              Plaintiff,

v.

LEONARD L. LUTON,

              Defendant.


       MOTION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       The United States of America, by and through the United States Attorney for the

District of Colorado, petitions the Court for a Writ of Habeas Corpus Ad Prosequendum

and states as follows:

       1)   The defendant, LEONARD LUTON, YOB: 1976, Jail ID P-40936, is

confined in the Larimer County Jail, 2405 Midpoint Dr, Fort Collins, CO 80525.

       2)   An initial appearance will be held forthwith in the United States District Court

for the District of Colorado before a United States Magistrate Judge on the charges in the

Criminal Complaint in the above-captioned case, and it is necessary that he be present in

person during the proceedings, appearances, and final disposition of his case.

       WHEREFORE your Petitioner moves the Court to order that a Writ of Habeas

Corpus Ad Prosequendum be issued by this Court to the United States Marshal for the

District of Colorado, or any other United States Marshal, requiring him to serve the writ
Case 1:19-cr-00098-CMA Document 5 Filed 02/01/19 USDC Colorado Page 2 of 2




on the Warden, Superintendent, or Custodian of any place or institution where the

defendant is confined, and requiring said United States Marshal to produce the defendant

before a United States Magistrate Judge for an initial appearance and to hold him at all

times in the United States Marshal=s custody as an agent of the United States of America

until final disposition of the defendant's case, and thereafter to return the defendant to the

institution where he is now confined.

       Respectfully submitted this 1st day of February, 2019.


                                                   JASON R. DUNN
                                                   United States Attorney


                                                   s/Martha Paluch
                                           By:     MARTHA PALUCH
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